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Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 2 of 38




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 directorofTheLaunchPad;NebonFoaseca(MBA '03),chkfoperatingolceratTerre> rk;JoséMas(BBA
 '92,MBA '94),CEO ofM as-lkc;M khelleVilblobos(M BA '04),founderofM idstaCoasultig andJosh
 Yelen(MBA '06),vkechaknvnforadmbktratbnintheDepartnrntofPatholor atUM 'sMilkrSchoolof
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 Initssearchforthe top SouthFlorida enxrgingleaders,theHerald looked forthose 'Nvorking inanyfkld -
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Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 6 of 38




 Chpn,Philip
 From :               Mccafferty-ceperoyJennifer
 Sent:                Tuesday,January08,20135:01PM
 To:                  CotelRlchard
 Cc:                  Chen,Phillp
 Subject:             RE:InternalAudit

 Hi, Richard.

 No baby yet - he Wi11 arrlve tomorroW for sure - can't belleve we made lt to the scheduled
 section datel

 I have been instructed by the Presldent, via the General Counsel, to transfer the HTI/OPO/IML
 assessment with TMG to Internal Audit. I do not have any detalls.
 If you Would lfke to talky we can but I'm not sure I have much to offer,
 My cell is 3054399250.
 Best
 :ennlfer


 From: Cote, Richard
 Sent: Tuesdayz January e8z 2013 12:57 AM
 To: Kccafferty-cepero, Jennifer
 Cc: Chen, Philip
 Subject: RE: Internal Audit
 Thanks aennlfer. I would be interested in speaking to you about this,
 How are you? Is there a baby yet?
 Richard ;. Cote, H.D., FRcpath, FCAP
 Professor and Joseph R. Coulter ;r. Chairy Department of Pathology Chief of Pathology,
 Jackson Memorial Hospital Director, Dr. Cohn T. Macdonald Foundation Biomedical
 Nanotechnology Institute Universlty of Miami Miller school of Medicine

 The lnformation contained in this transmission may contain privileged and confidential
 fnformationy lncluding patient information protected by Tederal and state privacy laws. It is
 intended only for the use of the personts) named above. If you are not the tntended
 recipientz you are hereby notlfied that any revlew't dlsseminatlon, distribution, or
 duplicatlon of this communication is strlctly prohlbited. If you are -not the lntended
 recipient, please contact the sender by reply email and destroy a1l copies of the original
 message.

      original Message-----
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 From: Mccafferty-cepero, :ennlfer
 Sent: Honday, January 07z 2013 9:42 PM
 To: Chen, Phllip
 Cc: Cote, Richard; Moloney, Michael
  Subject: Internal Audit
Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 7 of 38


 Phil-

 Happy neW year - hope you had a nice hollday.
 I Wanted to advise you that as of December 21 Internal Audit is managing/dïrecting the
 MTI/OPO/IML assessment With TMG. Please direct any questions or Tollow up to Mike Moloney,
 copied here.

 Best-
 Jennifer




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Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 9 of 38



 Yelen,Josh
 From:
 Sent                 ' Cote, Rchard
 To: :                  Tuesday, November13.20122:18PM
 Subjed:                Ghen,Philip;Yelen, Josh
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      .Mffell-cepero,Jennlfer                                                      œm);Mallnowskl?Patrlda
Suble lDr.RkhardCctew/TMGConsqllnY
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W here:CRB 3M FlecrExecutl veSuite                                                  .




Dr.Cote--.
Dr.MccaffertythnughtItmay behelpfulforyoutohave Iittl
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Tracy Glacoma,MBA,M S,RN,FACHE
Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 10 of 38




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Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 13 of 38



 Yelen,Joyh  -



 From:                    Chen.Philip
 Sent:                    W ednesday,May22,20134:11AM
 To:                      Yelen,Josh
 Sllbjed:                 Jnsh'canm u pleasesendthlstoJennifeo



 Sentfrom m y ipad

 Begin forwe ed m tssage:

         From:''Mccnlertpcepero,Jennifer''W Mcce ertv@.med.miami.edu>
         Date:M ay 17,2013 4:46:13 PM EDT
         Tn)''Chen,Philip''<pchen@ med-minmi.edu>
         Subject:RR:Dr.Ruiz'spayments
         Canyou please sendthe patient11st?



         Thanks

         Jennlfer




         JennlferM ccafferlw PhD,CHC,CHPC,CHRC
         ChlefMedicalCom pllanceOfficer



         305.243.6129 Office

         305.439.9250 Cellular
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      From :Chen,Phlllp
      SentlFrlday,May 17,2013 1:56 PM
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      subjeel> :Dr.Rul zispayments


      Jennl
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      Asdlscussed.

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      From :Yelen,lesh
      Sent:Friday,May 17,2013 1:49 PM
      TolChen,Phlllp
      Subjoe:> :Dr.Rulz'spayments


      Mynoteto Blanca



      From:Malagon,BlancaAurorarmallto.
                                      .bmalagon@e aml.edul
      SentlMpnday,May 13,2013 5:41PM
      To:Yelen,Joshua A.
      Sublec:RE:Dr.Rulz'spayments


      Thankyou



      From :Yelen,zosh rmallto:lYelenamed.mlaml.edul
      Sent:Monday,May 13r2013 3:52 PN
      To:Malagon,Blanœ Aurora
      Subje :RE:Dr.Rul
                     z'spaymenl


      Blanca,asdlscussed.seetheattached11stof300ofthe543patients. Please Ietmeknow ify0u need
      anytblng else.
Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 15 of 38


      Thankyou,

      Josh



      From:Malagon?BlancaAurorarmallto'
                                      .bmal
                                          anon@mlaml.e u)
      Sent:Monday,May0G 2013 12:34PM
      T@:Yelen,Joshua A.
      Subje lRe:Dr.Rulz'spaymenl


      Josh,can you send m e the lislofpalients

      Sentfrom my HTC Inspire'rM 46 on AT& T
      - -
             Reply m essage ---
      From:''Yelen,Josh''W Yelen@med.mismi.edu>
      To:''
          M alagon,BlancaAurora''<bmalagon@ miami.edu>
      Cc:''
          M oloney,MichaelJ.''<mmoloney@-miami.ed>
      Subject:Dr.RuiœAaposispayments
      Date:n u,M ay 2,2013 9:13 am



      DearBlanca,IhesltatetosendyouthisemallfQrpotentialfearofretributlonbuthopeltwillbe keptin
      conidencewhllefurtherlng yourduedllgencelnvestlgativeprocesses.ltisIn llne w1ththecurrentIML
      Invekigatlon,ofwhlchDr.CoteandDr.Chenhavepartlcipatedandcooperated.Inthecasebelow (see
      emallcorrespondence),Dr.RtllzusedPathology'sITsystem tcblllforprofesslonalpathologyse-icesand
      theassoclatedchargesweresubmittedW Pathnlegy(throug:Pathology'sTax1D)withthecolledionstobe
      Iatertransferred to surgery.ThechargesthroughourITsystem suddenlyMopped inJuly2013, whenthe
      PathologyTCgrandfatherclause ended
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      0(21.ndf1.Wewéreconcernedofdoubleblllingferthecasesinwhlchwe(Pathelogy)wererelmbursedand
      askedforbackup documentationfrom Surgerythatwasneverprovlded. Once lm ademyInquiryofRafk,
      Dr.uvingstone,wboIsmybossandmybosses'boss(inhisroleasCEO ofUMMG)?approachedDr.Cote
      and ''asked''forthe moneyto betransferred.Desplte myhesitatlon, 1fel
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      withgreatunease asnow should double bllllngbefound,myteam and lare corrobnratlnglnany unkosher
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      inMructlon,canfurnlsh lm medlately.

      Please1etme know Ifyou have a0yotherquestions.

      n anks,

      Josh




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           From:'Warwar,Rv c''<RW arwar@ med.miami.edul
           Date:February 27,2013,2:29:29 PM EST
           To:''Yelen,Josh''W Yelen@lned.miami.edu>
           Subject:Rm Dr.Ruiz'spayments
           ThanksJosh.
            Rafi
               c




           From ;Yelen,Josh
           To:W arwar,Rafic
           Sent:Tue Feb 26 18:08:52 2013
           Subj- :> :Dr.Ruiz'spayments
            DearRa5c:Dr.LivlngMoneapproached Dr.Coteandasked Dr. Coteto asslstw1thaqulck
           resolutiontothesefundstransferandassuch,Pathnlogywllltransfer$34,902.52from our
           plantaccounttosurgery'splantacceunttocoverFYIIandFY12collectlons(total
           collectionsmlnusa10% bllllngandadmlnistratlvefee)and$822.55tooneofSurger/s
           opeotlngaccountsforFY13collectlons(totalcollectlonsmlntlsa10% billlngand
           administrativefee).Aspreadsheetofthecolledlonsisattached.1'11askmyaccnuntlng
           team toworkwith yourstofinallze.

           Thanks,

           Josh




           From :Uvlngstone,Alan
           Sent:Frlday,Februel 0% 20137:45AM
           To:Yelen/Josh;W arwar,Raflc
           Cc:CoterRlchard
           subloa :RE:Dr.Rul
                           z'
                            spayments


           Josh/RaEc,


            Dr.cote and ldlscussedthlsyesterdayafternoon,and haveagreed toqulckly resolve this
            andtotransferthefunds.Thankyou.



            Ast
Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 17 of 38


           From lYelen?Josh
           Sent:W ednesday,Februal 06,20139:48 PM
           To:W a- artRasc
           Cc:Uvlngstone,Alan;e te?Rkhard
           Sublect Re:Dr.Rulz'spaymenY


           DearRafic:ln no placedid lmention compliance 'issues'';m y requestwassimply to
           answerbenign background questionsrelated to thesecharges. These chargesw ere
           sublnitted through the DepartmentofPatholngy'sTM ID and assuch, the
           Depsrtm entisresponsible forallregulatory standardsand billing processes
           associatedwithtbem .Furthermore,inthismnnner,theywerenotsubmittedbyour
           facultymembernortmderourclinical, admln'   lstrativeorIT govemancestructure.
            W eneed totmderstandthenatureofthecharges, to enstlx thattherewasno double
           billin:undertheTC grandfatherclause(whichnoUM 1abfallsunder),andoncewe
           are assured thatthe appropriatebilling processesoccurred, wehAve noproblems
           trnnsferring the associated funds. 1would only expectthesam einquiry frcm you ifI
           hadasuyeoninPathologybillingtkoughsurgerywhohadnoclinicalgovemance
           oradmlnlstrativeoversightfrom m urdepartm ent.

           Thnnksso m uch foryourhelp navigating thisprocess.



           Josh




           OnFeb6,2013,at4:09PM,''Warwar,Rafk''qlkWarwar@med.miami.edu> wrote:


           Josh,
           Really?Compl
                      iance issues?Thankyx .You'
                                               veanswered myquestlon. Iappreciateyour
           support
           RSW




           From :Yelen,zosh
           To:Warwur,Raflc
           R nt:W ed Feb 06 16:01:S0 2013
           Subje :RE:Dr.Rulz'spayments

                                                  5
Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 18 of 38


           HiRasc,1looked into thesepaymentsandthereareafew billingcompllancerelated
           questionstbatwillhelp usbestdeterminehow to proceed. Igreatlyappreciateyourhelp
           Ingettlngthe lnformationforthefollowingquestlons.



           * The chargesInSunqueststopped inJuly2012. W hatwasthereasonforthestoppage?


           * W hatarethepatienttypes(e.g.,JMH orUM patients,I
                                                            /Pvs.O/Pvs. transplant
             bundle)?
           * W hatservlceswere rendered?

           @ W ho provided thetechnkalcomponent?

           @ W hobilledthe cerrespondlngTC ontheseprofessionalcharges?



           Dr.Chen and lare morethan happyto meetwithyouand Dr.Ruizto discussInperson.



           M aslde note,myofflce hasbeentryingto setupameetlngw1th Nicoleand Dr. Rtllzfor
           monthslodiscussIM LpriclngfertestlngperformedatUM HCand UM H and myassistent
           keeps
           f telling mesheIsgettlngputofwhen twingtoschedule. IMthasaqulteabitofV R
            rom thisbookofbusinessand1'm surprisedtheybaven'tjumpedonthismeetingsooner.
           Canyou pleasespeak*1th NicoleorDr.Rulztoseewhatthehold-up is?



           Thanks,



           Josh




           Fx m :Warwar?Rasc
           SentlTuesdey,February 05,2013 9:21AM
           To:Yelen,Josh
           Subjed:Re:Dr.Rulz'spayments


           Joshj
           Ganyoupleaseprovidean update?

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           Thanksl
           Rafi
              c




           From ;Yelen,Josh
           To:Warwar,Rasc
           Sent:n uJan 24 12:57:43 2013
           sublee:RE:Dr.Rulz'spayments
           YougottaIovethestreet.SomeofthethingsI'm hearlngareprettyjaw droppingand
           hopefullyIus'trumorandnottrue.



           From lWarwar,Raflc
           SentlThusday,Janoal 24,2013 12:13 PM
           TolYelen,Josh
           SublectlRE:Dr.Rulz'spaymenl


           Thanks--..lthoughtthere mustbe amisunderstanding aswordonthestreetisthatw u've
           instruded yourfoll notto make thetransfer.



           Fm m :Yelen?Josh
           Sentln ursday,January 24,2013 9:27AM
           To:Warwar,Raflc
           Cc1'Stouk Steven'
           subjee:RE:Dr.Rulz'spayments


           Rafic.

           IwlllIookintolt.

           Thanks.

           Josh



           From :W arwar?Rasc
           A nt:W ednesday?Janual 23,20134:34 PM
           Tm Yelen,losh
           Cc:'
              Stout,Steven'
           Subjed:> :Dr.Rulz'spayment
Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 20 of 38




           Josh.


            Canyou pleaseasslstw1ththls.



           Thanks,


           Raic



           From :Kodama,Saorl
           Sent W ednesdaw January 23, 2013 3:44 PM
           To1Warwar,Rafk
           Cc:Weng,Edmund
           Subjee :> :Dr.Rulz'
                             spayments


           Rafic.



           lhavebeencontactlng Pathologytôtonsfer9r. Rulz':paymentsthatwentto Pathology.
           h                                                                              It
            asnotbeen successfulasyou canseewltbthe e-mallchalnbelow . Dr.Rulzmoved hisrole
           toSurgeryon 2/16/2011from Pathelngy,however,hlschargeswerestlllbilledunder
           PatbologyBI1!AreaandthemoneywasautomatlcallyroutedtoPatholog/saccount. Thls
           wasfixed golngforward sometlme inSeptember2011, butthe historlcalm oniesthatwere
           received/111remained In Pathotogy;Couldyouklndlypleasesendan e-mailto M r.Josb
           Yelen on thismatterso thatwecanmoveforwardwlththeprocess.



           PleaseIetm eknow ify:u have anyquestlons.



          Thankyou.



          Saori



          From :Kodama?Saorl
          SentlThursday,January 17,20139:12AM
          To:Ferrer,Arlstldes;Clanm Mary E
                                                  8
Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 21 of 38


           Cc)Davls,Vanesa;W ong:Edmund
           Subje :RE:Dr.Rulz'
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           HIArI& M ary,



           lam
           Att following up on Dr.Rulz'spaymentthatneedstobetransferred from Pathology.
              ached istheletterthatIndlcatedthedatvthatDr. Rulzm oved h1sroletoSurgeœ .
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           recallcorredly,the onlyfactorthatwasholdlngustogetthedatawasthedatethatDr
           Rulzmoved to Surgery. Please letusknnw ifyou needanythingelse inourend        .
                                                                                 .




           Thankyou ve@ m uch.



           SaoriKodama

           DeW ittDaughtryFamlly DepartmentofSurgery

           Leonard M .M lllerSchoo!ofMedîcine*Unl
                                                versltyofMlami

          Omce:305.243.6723 #Facsimlle:305.243.3345

          Email:skodamap med.miamivedu

          To learn moreaboutthe DepartmentofSurgerypleasevlsit:httn://stlrcerv.med.mlaml-edu




          Fx m lKodama,Saorl
          Sent:Frlday,June 29?2012 9:58 AM
          Tœ Ferrer,Arlstldes
          cm Clanm Mary E
          suble :RE:Dr.Rulz'spaymenl


          HiAri,



          lam Justfoll
                     owlng tlponthee-mallbelow.Pleaseklndlyletmeknow yourresponse.


          Thankyou.

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Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 22 of 38




           Saori



           From lKodamw Saorl
           Sent)Monday,zune2% 20123:12PM
           Tola rrer,Arlsedes
           cm Clanm Mary E
           subje :RE:Dr.Rulz'spayments


           HiAri,



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          Thank#Ou.


          Saod



          Fo m :Ferrer,Arlstl
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          Sentln tle ay,2une 21,2012 4:27 PM
          To)Kodamw Saorl;Clanty Ma@ E
          subleu)RE:Dr.Rulz'spaymenl


          HISaorl:



          Iagree



          Arls.




          From :Kodama,Saorl
          Sent:Tbursday,2une21?2012 4:25 PY
Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 23 of 38


           To:Ferrer,Arlstides;Clancy, Mary E
           Subl- lDr.Rulz'spayments


           HiAriandMafyr



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                                               n FY13.W hatdoyoQ thlnk? Please letme know.


           R ankyouvery much.


           SaordKodama

          DeW ittDaughtryFamily DepartmentQfSurgery

          Leonard M.Mi
                     llerSchoolofMedlclne*UnlversltyofMiaml
          Offlce:305.243.6723 *Facslmlle:305.243.3345
          Email:skodamaa med.miaml.edu
          To leam mcreabouttheDepartmentofSurgerypleas:Misit:httn://sufcew.med.mlami
                                                                                    .edu




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                           EX H IB IT J/F';
          Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 25 of 38



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                                             f. Quantitative PCR forCMV,EBV,and Bl    4virusdaily for3 days
                                             g. Ifpatientreceiving tacrolimus/cyclosporine /sirolimus/everolimus, trough Ievel
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Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 26 of 38




                          EX H IB IT GG ';
Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 27 of 38




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Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 28 of 38




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Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 29 of 38




                          EX H IB IT f;H ##
Case 1:13-cv-24320-CMA Document 1-1 Entered on FLSD Docket 11/27/2013 Page 30 of 38



  Chen,Phlllp
          -



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RkhardJ.Cote,M.9.,FRCPath, FCAP
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